        Case 1:17-cr-00127-SPW Document 17 Filed 03/16/18 Page 1 of 2



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION


 UNITED STATES OF AMERICA,                       CR 17-127-BLG-SPW

                    Plaintiff,
                                                 ORDER
 vs.

 VERNELLE LYNN BADBEAR,

                    Defendant.

       Before the Court are Defendant’s Motion for Detention Hearing and

Unopposed Motion for Detention Hearing. (Docs. 15 and 16.) Counsel for

Defendant has represented to the Court that the United States cannot accommodate

the time and date requested in Defendant’s earlier motion (Doc. 15), and that the

time and date requested in her subsequent motion is acceptable to the United

States. (Doc. 16.) Accordingly,

       IT IS ORDERED that the Court will conduct a Detention Hearing in this

matter on Thursday, March 29, 2018, at 3:30 p.m. in the Bighorn Courtroom,

James F. Battin Federal Courthouse, Billings, Montana.

       IT IS FURTHER ORDERED that Defendant’s Motion for Detention

Hearing (Doc. 15) is DENIED as moot.

//

//
 Case 1:17-cr-00127-SPW Document 17 Filed 03/16/18 Page 2 of 2



DATED this 16th day of March, 2018.

                             _______________________________
                             TIMOTHY J. CAVAN
                             United States Magistrate Judge
